                        Case 1:18-cr-00565-KHP Document 18 Filed 04/05/19 Page 1 of 6

AO 245B (Rev. 02/18)   Judgment in a Criminal Case (form modified within District on FcbnJaty 22, 2019)
                       Sheet I



                                          UNITED STATES DISTRICT COURT
                                                           Southern District of New York
                                                                             )
              UNITED STATES OF AMERICA                                       )      JUDGMENT IN A CRIMINAL CASE
                                  v.                                         )
                                                                             )
                         Michael maloney                                            Case Number: 1: 18-cr-00565-KHP-1
                                                                             )
                                                                             )      USM Number: 86012-054
                                                                             )
                                                                             )       Vincent Bianco
                                                                             )      Defendant's Attorney
THE DEFENDANT:
ii'! pleaded guilty to counl(s)        Count One - Possession of Narcotics (21 U.S.C. 812 and 844(a)

D pleaded nolo contcndcrc to count(s)
  which was accepted by the court.
D was found guilty on count(s)
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                            Offense Ended            Count

_ 21 U.S,C. 812 and 844            Possession of.Narcotics                                                      8/7/2018                · One




       The defendant is sentenced as provided in pages 2 through            _ _4c___ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found         not guilty on count(s)        N/A

D Count(s)       N/A
               _c::::_:_ _ _ _ _ _ _ _ _ _ __             •     is   D arc dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any: change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material clianges in econmmc circumstances.

                                                                            4/5/2019
                                                                           Date oflmposition of Judgment



                                                                                                          tl   Q~L
                                                                            KATHARINE H. PARKER U.S.M.J.
                                                                           Name and Title of Judge


                                                                            4/5/2019
                                                                           Date
                      Case 1:18-cr-00565-KHP Document 18 Filed 04/05/19 Page 2 of 6


 AO 245B (Rev. 02/18) Judgment in a Criminal Case
                      Sheet 3A- Supervised Release
                                                                                              Judgment-Page - - ~ - - o f - - - ~ - - -
DEFENDANT: Michael maloney
CASE NUMBER: 1: 18-cr-00565-KHP-1

                                     STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

l.  You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
    release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
    frame.
2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
    when you must report to the probation officer, and you must report to the probation officer as instructed.
3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting pennission from the
    court or the probation officer.
4. You must answer truthfully the questions asked by your probation officer.
5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
    arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
    the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
    hours of becoming aware of a change or expected change.
6.  You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
    take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
    doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
    you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
    responsibilities), you must notify the probation officer at least IO days before the change. If notifying the probation officer at least 10
    days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
    becoming aware of a change or expected change.
8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
    convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
    probation officer.
9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
    designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
    first getting the permission of the court.
12. You must follow the instructions of the probation officer related to the conditions of supervision.




U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview ofProbation and Supervised
Release Conditions, available at: www.uscourts.gov.


Defendant1s Signature                                                                                  Date _ _ _ _ _ _ _ _ _ _ __
                       Case 1:18-cr-00565-KHP Document 18 Filed 04/05/19 Page 3 of 6
 AO 245B (Rev. 02/18) Judgment in a Criminal Case
                      Sheet 4-Probation
                                                                                                    Judgment-Page _ _ _ of
DEFENDANT: Michael maloney
CASE NUMBER: 1:18-cr-00565-KHP-1
                                                           PROBATION

You arc hereby sentenced to probation for a term of:
     Three years Probation




                                                    MANDATORY CONDITIONS
I.  You must not commit another federal, state or local crime.
2.  You must not unlawfully possess a controlled substance.
3.  You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of placement on
    probation and at least two periodic drng tests thereafter, as determined by the court.
            D The above drng testing condition is suspended, based on the court's detennination that you pose a low risk of future
                substance abuse. (check if applicable)
4.   D You must cooperate in the collection of DNA as directed by the probation officer. (checkifapplicable)
5.   D You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.)
          as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location
          where you reside, work, arc a student, or were convicted of a qualifying offense. (check if applicable)
6.   D You must participate in an approved program for domestic violence. (check if applicable)
7.   D You must make restitution in accordance with 18 U.S.C. §§ 2248, 2259, 2264, 2327, 3663, 3663A, and 3664. (check if appUcablc)
8.  You must pay the assessment imposed in accordance with 18 U.S.C. § 3013.
9.  If this judgment imposes a fine, you must pay in accordance with the Schedule of Payments sheet of this judgment.
10. You must notify the court of any material change in your economic circumstances that might affect your ability to pay restitution,
    fines, or special assessments.


You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
                          Case 1:18-cr-00565-KHP Document 18 Filed 04/05/19 Page 4 of 6

     AO 245B (Rev. 02/18) Judgment in a Criminal Case
                          Sheet 4A - Probation
                                                                                                Judgment-Page - - ~ - - of - - ~ ~ - -

DEFENDANT: Michael maloney
CASE NUMBER: 1 :18-cr-00565-KHP-1

                                          STANDARD CONDITIONS OF SUPERVISION
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they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation officers
to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.  You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of the time
    you were sentenced, unless the probation officer instructs you to report to a different probation office or within a different time frame.
2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
    when you must report to the probation officer, and you must report to the probation officer as instructed.
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    court or the probation officer.
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6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
    take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
    doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
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10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
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11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
    first getting the permission of the court.
12. You must follow the instructions of the probation officer related to the conditions of supervision,




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A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview ofProbation and Supervised
Release Conditions, available at: www.uscourts.gov.

Defendant's Signature                                                                                   Date
                      Case 1:18-cr-00565-KHP Document 18 Filed 04/05/19 Page 5 of 6
 AO 245B (Rev. 02/18) Judgment in a Criminal Case
                      Sheet 4C - Probation
                                                                                        Judgment-Page _ _ _ of       5
DEFENDANT: Michael maloney
CASE NUMBER: 1:18-cr-00565-KHP-1

                           ADDITIONAL STANDARD CONDITIONS OF SUPERVISION
 Six months home detention enforced with radio frequency monitoring.

 Defendant is required to pay the cost of his home confinement monitoring.

Defendant must attend outpatient substance abuse and mental health treatment. Probation Officer must approve this
program and be aware of the defendant's treatment schedule and attendance.

 Defendant may not take any prescribed medication except as instructed by his health care provider.

Defendant may not access the dark web during the term of his home detention and probation. Defendant must disclose
any past transactions and accounts involving cryptocurrency to Probation and may not engage in cryptocurrency
transactions that are not pre-approved by Probation during his term of detention and probation. Defendant must consent
to searches of his electronic devices and accounts by Probation for purposes of monitoring his compliance with these
conditions.
                       Case 1:18-cr-00565-KHP Document 18 Filed 04/05/19 Page 6 of 6

AO 2458 (Rev. 02/18)   Judgment in a Criminal Case
                       Sheet 5 - Criminal Monetary Penalties
                                                                                                               Judgment -   Page   -~5~_   of   5
 DEFENDANT: Michael maloney
 CASE NUMBER: 1:18-cr-00565-KHP-1
                                               CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                       Assessment                   JVTA Assessment*                                                   Restitution
TOTALS             $      25.00                 $                                    $                             $



D    The determination of restitution is deferred until      . An Amended Judgment in a Criminal Case (AO 245C) will be entered
                                                        ----
     after such determination.

D    The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payrn_,ent, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664lt), all nonfederal victims must be paid
     before the United States is paid.




TOTALS                               $                         0.00               $ - - - - - - - -0.00
                                         ---------                                                  --




D     Restitution amount ordered pursuant to plea agreement $                 0.00
                                                                              ----------
D     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(1). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

D     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      D   the interest requirement is waived for the           D       fine   D   restitution.

      D   the interest requirement for the          D   fine       •     restitution is modified as follows:

* Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
** Findings for the total amount oflosses are required under Chapters I 09A, 110, 11 OA, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
